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                         Exhibit A
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                                                                                                 USOO6813742B2

 (12) United States Patent                                                       (10) Patent No.:                US 6,813,742 B2
        Nguyen                                                                   (45) Date of Patent:                     Nov. 2, 2004

 (54) HIGH SPEEDTURBO CODES DECODER                                           Chen et al., reduced State Soft/input-Soft/output algorithm
         FOR 3G USING PIPELINED SISO LOG-MAP                                  for complexity reduction in iterative and non iterative data
         DECODERS ARCHITECTURE                                                detection, 2000, IEEE, p. 6-10.*
 (75) Inventor: Quang Nguyen, Allentown, PA (US)                              Lee et al., Evaluation of the MAP decoder for the Turbo
                                                                              codes of IMT 2000, 2000, IEEE, p. 1266–1269.*
 (73) Assignee: ICOMM Technologies, Inc.,
                Wilmington, DE (US)                                           Ambroze et al., Iterative MAP decoding for serial concat
                                                                              enated convolutional codes, Apr. 1998, IEEE proc. Com
 (*) Notice:          Subject to any disclaimer, the term of this             mun., vol. 145, No.2, p. 53–59.*
                      patent is extended or adjusted under 35                 Dr. Woodard et al., Implementation of high rate turbo
                      U.S.C. 154(b) by 347 days.                              decoders for third genration mobile communications, 1999,
 (21) Appl. No.: 09/681,093                                                   IEEE, p. 12/1-12/6.*
                                                                              Jeon et al., An efficeint Turbo decoder archietecture for IMT
 (22) Filed:     Jan. 2, 2001                                                 2000, 1999, IEEE, p. 301-304.*
 (65)                 Prior Publication Data
         US 2002/0124227 A1 Sep. 5, 2002                                      * cited by examiner
 (51) Int. Cl. ............................................... H03M 13/03
 (52) U.S. Cl. ........................................ 714/794; 714/755      Primary Examiner Albert Decady
 (58) Field of Search ................................. 714/755, 786;         Assistant Examiner. Shelly A Chase
                                                         375/341, 265         (74) Attorney, Agent, or Firm-Sean L. Ingram; Mintz
                                                                              Levin Cohn Ferris Glovsky and Popeo P.C.
 (56)                     References Cited                                    (57)                   ABSTRACT
                  U.S. PATENT DOCUMENTS
                                                                              A Bandband Processor for Wireless Communications is
        5,406,570 A        4/1995 Berrou et al. ............... 714/792       presented. The invention encompasses several improved
        5,446,747 A        8/1995 Berrou ....................... 714/788      Turbo codes method to provide a more practical and Simpler
        5,563.897 A       10/1996 Pyndiah et al. ............. 714/755        method for implementation a Turbo Codes Decoder in ASIC
        5,721,745 A        2/1998 Hladik et al. ............... 714/755       or DSP coding. (1) A plurality of pipelined pipelined Log
        6,000,054 A       12/1999 Bahr et al. .................. 714/786
        6,023,783 A        2/2000 Divsalar et al. ............ 714/792        MAP decoders are used for iterative decoding of received
        6,182,261 B1    1/2001 Haller et al. ................ 714/758         data. (2) In a pipeline mode, Decoder A decodes data from
        6,307.901 B1 * 10/2001 Yu et al...................... 375/341         the De-interleaver RAM memory while the Decoder B
        6,516,437 B1 * 2/2003 Van Stralen et al. ........ 714/755             decodes data from the De-interleaver RAM memory at the
        6,526,539 B1 * 2/2003 Yano et al. ................. 714/794           same time. (3) Log-MAP decoders are simpler to implement
                    OTHER PUBLICATIONS
                                                                              in ASIC with only Adder circuits, and are low-power con
                                                                              Sumption. (4) Pipelined Log-MAP decoders method provide
 Montorsi et al., Desing of fixed-point iterative decoders for                high Speed data throughput, one output per clock cycle.
 concatenated codes with interleavers, 2000, IEEE, p.
 801-806.                                                                                   8 Claims, 21 Drawing Sheets




                                               SISO XO1         Inter eaV                           De-Interleaver
                                               Log
                                               MAP               MEMOR                                MEMORY
                       Input                                                         DECODER
                       Shift               DECODER
                                                                                        B
                       Reg.
                       Buffer                                                                                 Hard-Decoder
                     MEMORY
                                                                                                            46
                                                                                                                      Y
                                                   ControlLogics - State Machine (CLSM)                           Output Data
                                                                       \-47
                                                   Turbo Codes Decoder System Block Diagram
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              O               Demapping           FEC
          Demodulation                         Turbo Codes
                                 P/S             DeCOder



          FIGURE 1. Typical 3G Receiver Functional Block Diagram, (Prior art)
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                                                              R2, R1, RO)
                                                               input to
                                                             Turbo Codes
                                                          110 Decoder



            FIGURE 2, 8-PSK constellations, (Prior art)
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                        G(D) = 1, n(D) / d(D)
                 where, d(D) = 1 + D2 + D3, n(D) = 1 + D + D3


      FIGURE 3. The 8-states Parallel Concatenated Convolutional Code (PCCC)
                                        (Prior art)
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                                                                  Å




                         XITO8                          ÅRHOWNE
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      RSYNC                                                               RO

     RX DATA                                                              R1

        BCLK                              N-BIT SHIFT REGISTER            R2

                  51           S/P      2 1      O        \ 52
                                Ee ROR1||R2
       FIGURE 5. Input Buffer Shift Registers


                                              /-24
  INPUT DATA BITS              MAPPING ROM TABLE                   SOFT WALUES
      R0, R1,R2


               FIGURE 5b. Soft Values Mapping ROM Table




            Bck llllllllll
           RSYNC -
          RX DATA         RoR1|R2 Dont cARE ROR1|R2||Dont CARE
               FIGURE 6. Input Buffer Interface Timing
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                                                             9/
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                                        O1           O
                         M5
            S2(k-1)                                   O

                      M7
           S3(k-1)            CS C                        1) S3(k1)
                                                    Y      O


           S4(k-1)
                                                     SO        S4(k)




      FIGURE 8. The 8-STATES TRELLIS DIAGRAM of a SISO Log-MAP Decoder
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      SDO
                     /-9
                   ADD                                                BM1
      SD1                                     93

                                        2COMPL                        BM2

                                                                      BM3
                                                                      BM4
     SDO
                   SUB                                                BM5
     SD1

                                        2'COMPL                       BM6
                                                                      BM7

                                                                      BM8
                                                                      BM9
                                                                      BM10
                                                                      BM11
                                                                      BM12

                                                                      BM 13
                                                                      BM 14
                                                                      BM 15
                                                                      BM16



                    FIGURE 9. BRANCH METRIC COMPUTING MODULE
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                                        101
          SmOi                     /                          10 1
           sm0            ADD                           /
          bm1                                     ADD                Sum S00

           sm1j           ADD
          bm7                                     ADD                Sum S01
          Sm4i
          sm2
          bm9                                     ADD                Sum S02

           sm3            ADD
          bm15                                    ADD                Sum SO3
           Sm1i
           smaj
           bm4                                    ADD                Sum S04
          Sm2i
           sm5.           ADD
          bms                                     ADD                Sum S05
          Sm.5i
           sm6            ADD
          bm12                                    ADD                Sum S06
          Sm6i
           sm7
          brm 14                                  ADD                Sum S07

           FIGURE 1 Oa. LOG-MAP COMPUTING MODULE
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                                            102
            Sm1i                        /                     103
            sm0             ADD
            bm3                                   ADD           Sum S10
            Sm2i
            sm1j            ADD
            brm.5                                 ADD           Sum S11
            Sm5i
            sm2             ADD
            bm11                                  ADD           Sum S12
            Sm6i
            sm3
            bm13                                  ADD           Sum S13
            SnOi
             smaj
            bm2                                    ADD           Sum S14
            Sm3i
            sm5
            bm8                                   ADD            Sun S15
            Sm4i
            sm6             ADD
            bm1 O                                 ADD           Sum S16
            Sm7i
                            ADD
            sm7
            bm16                                  ADD            Sum S 17

               FIGURE 10b. LOG-MAP COMPUTING MODULE
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        Sum S11                                             -o- S11 Sum
         S07Sum
         Sum S1
         Sum S13
         S13Sum
         Sum S14
         Sum S15
         S15Sum
         Sum S16
         Sum S 17                                           -o- S17sum

                    FIGURE 11. Computing Log-MAP for each state
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                                        /-12
                                        SOFT
                                   DECISION Ho- SOft-deCOce
                                 ALGORTHM




                   FIGURE 12. Soft Decode output
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      FIGURE 13. Computation of Forward Recursion of state-metric (ACS)
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       FIGURE 14. Computation of Backward Recursion of state-metric (ACS)
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                                                      A(k+1)




          FIGURE 15. Forward computing of Trellis state transitions
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            A(k)




        FIGURE 16. Backward computing of Trellis state transitions
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                                                           d-Sm-done




             FIGURE 17. State machine operations of Log-MAP Decoder
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          FIGURE 18. BM dual-port Memory Module




              FIGURE 19. SM dual-port Memory Module
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                                                         201

                                 interleaver


                         A                       B
                                  Dual Port
                                   RAM



                         M-1                        O

             FIGURE 20. Interleaver RAM Memory Module


                                                        211
                                                /
                               De-Interleaver


                          A                     B
                                  Dual POrt
                                   RAM                  /-212
                         M-1                        O

              FIGURE 21. De-Interleaver RAM Memory Module
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                                          enable


              HARD-DEC             INPUT SAMPLES

                                                    iput done


                   Decoding
                     dOne2




            FIGURE 22. State machine operations of Turbo Decoder
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                                                       DeCOder A




                                               Compare
                                              CounterFL?

            234 /                       235-/
           FIGURE 23. Iterative decoding feedback control Mux
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                                                     US 6,813,742 B2
                                1                                                                  2
       HIGH SPEED TURBO CODES DECODER                              in FIG. 3. data enters the two systematic encoders 3133
      FOR 3G USING PIPELINED SISO LOG-MAP                          Separated by an interleaver 32. An output codeword consists
            DECODERS ARCHITECTURE                                  of the source data bit followed by the parity check bits of the
                                                                   two encoders. Other prior work of error correction codes
              CROSS REFERENCE TO RELATED                           was done by Berrou et al. describing a parallel concatenated
                         APPLICATIONS                              codes which is are much complex encoding Structure that are
     This application is based upon the development of IP Core not U.S.
                                                                        Suitable for portable wireleSS device. Another patent
                                                                         Pat. No. 6,023,783 by Divsalar et al. describes a more
  ASIC products for 3G-WDMA and 3G-CDMA2000 wire improved                      encoding method than Berrou using Some basic
  leSS communications applications by IComm Technologies, mathematical              concepts of parallel concatenated codes.
  Inc. since early 1998. This application also references to the However, patents
  prior U.S. provisional application Ser. No. 60/131,516 filed and others only by           Berrou, the U.S. Pat. No. 6,023,783,
                                                                                        describe the basic concept of parallel
  May 26, 1999.                                                    concatenated codes using mathematical equations which are
                BACKGROUND OF INVENTION                            good for research in deep Space communications and other
                                                                15 government projects but are not feasible, economical, and
     1. Field of the Invention                                     practical for consumers. The encoding of data is simple and
     This invention relates to Baseband Processor and Error        can be easily implemented with a few Xor and flip-flop logic
  Correction Codes for Third Generation (3G) Wireless gates. But the decoding the Turbo Codes is much more
  Mobile Communications, and more particularly, the inven difficult to implement in ASIC or software. The prior arts
  tion relates to a very high Speed Turbo Codes Decoder using describe briefly the implementation of the Turbo Codes
  pipelined Log-MAP decoders method for for Third Genera Decoder which are mostly for deep Space communications
  tion (3G) CDMA2000 and 3G-WCDMA.                                 and requires much more hardware, powers and costs.
     2. Description of Prior Art                                      All the prior arts of Turbo Codes fail to achieve a simpler
                                                                   method
     Turbo Codes decoding is based upon the classic forward 25 desired for   for a Turbo Codes Decoder as it is required and
  error correction concepts that include the use of recursive cation devices    3G cellular phones and 3G personal communi
                                                                                     including high Speed data throughput, low
  systematic constituent Encoders (RSC) and Interleaver to power consumption, lower costs, limited bandwidth, and
  reduce E/No for power-limited wireleSS applications Such limited power transmitter in noisy environment.
  as digital 3G Wireless Mobile Communications. A Turbo
  Codes Decoder is an important part of the baseband pro                           SUMMARY OF INVENTION
  ceSSor in the wireleSS communication Receiver, which is
  used to reconstruct the corrupted and noisy received data implement The present invention directed Turbo Codes Decoder to
  and to improve BER (bit-error-rate) throughput. FIG. 1. achieve thea requirements
                                                                                  more efficient, practical and Simpler method to
                                                                                                 for 3G cellular phones and 3G
  shows an example of a 3G Receiver with a Turbo Codes personal               communication devices including higher Speed
  Decoder 13 which decodes data from the Demodulator 11 35
  and De-mapping 12 modules, and Sends decoded data to the data    and
                                                                         throughput, lower power consumptions, lower costs,
                                                                         simpler   implementation in ASIC or software. The
  MAC layer 14. FIG. 2. shows an example of an 8-PSK present invention                   encompasses improved and Simplified
  constellation points 21 produced by the Demodulator mod
  ule 11. The De-mapping 12 module uses the 8-PSK con higher speed and lower method
                                                                   Turbo   Codes    Decoder             and apparatus to deliver
                                                                                               power especially for 3G applica
  Stellation points 21 to convert into binary data 22 and Send 40 tions. An exemplary embodiment           Turbo Codes Decoder
  to the Turbo Codes Decoder 13. The data 22 is then decoded
  and reconstructed by the Turbo Codes Decoder 13 and send utilizes         two pipelined and Serially concatenated SISO Log
                                                                   MAPDecoders with Interleaver-Memory at the output of the
  to the MAC layer 14.
     A most widely used forward-error-correction FEC scheme first        decoder and a De-interleaver-Memory at the second
  is the Viterbi Algorithm Decoder in both wired and wireless 45 with delayThe
                                                                   decoder.        two decoderS function in a pipelined Scheme
                                                                               latency N; while the first decoder is decoding data
  application. A drawback is that it requires a long waiting for in the de-interleaver-Memory,       the Second decoder performs
  decisions until the whole. Sequence has been received. A decoding data in the interleaver-Memory, which produces a
  delay of six time the memory length of the received data is decoded output every clock cycle in results. Accordingly,
  required for decoding. One of the more effective FEC, with several objects and advantages of our Turbo Codes Decoder
  higher complexity, a MAP algorithm used to decode 50 C.
  received message has comprised the Steps of very compu              To deliver higher speed throughput and lower power
  tational complex, requiring many multiplications and addi consumption
  tions per bit to compute the posteriori probability. A major
  difficulty with the use of the MAP algorithm has been the           To utilize SISO Log-MAP decoder for faster decoding
  implementation in Semiconductor ASIC devices, the com 55 and simplified implementation in ASICr with the use ofbi
  plexity the multiplications and additions which will slow nary adders for computation.
  down the decoding process and reducing the throughput data          To perform re-iterative decoding of data back-and-forth
  rates. Furthermore, even under the best conditions, each         between the two Log-MAP decoders in a pipelined scheme
  operations used in the MAP algorithm requires a large until a decision is made. In Such pipelined Scheme, a
  circuits in the ASIC. The result is costly, and low perfor 60 decoded output data is produced each clock cycle.
  mance in bit rates throughput.                                      To improve higher performance in term of Symbol error
     Recently introduced by the 3GPP organization a new class probability and low BER for 3G applications such as 3G
  of codes using parallel concatenated codes (PCCC) that W-CDMA, and 3G CDMA2000 operating at very high
  include the use of the classic recursive Systematic constitu bit-rate up to 100 Mbps in a low power noisy environment.
  ent Encoders (RSC) and Interleaver as shown in FIG. 3. 65 To utilize an simplified and improved architecture of SISO
  offers great improvement. An example of the 3GPP Turbo Log-MAP decoder including branch-meric (BM) calcula
  Codes PCCCTurbo Codes with 8-states and rate /3 is shown         tions module, recursive state-metric (SM) forward/
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                                                    US 6,813,742 B2
                               3                                                                 4
  backward calculations module, Log-MAP posteriori prob                  FIG. 23. is a block diagram of the Iterative decoding
  ability calculations module, and output decision module.            feedback control Mux.
     To reduce complexity of multiplier circuits in MAP                              DETAILED DESCRIPTION
  algorithm by perform the entire MAP algorithm in Log                Turbo Codes Decoder
  domain with the uses of binary der circuits which are more            An illustration of a 3GPP 8-state Parallel Concatenated
  suitable for ASIC implementation while still maintain a high         Convolutional Code (PCCC), with coding rate /3, constraint
  level of performance output.                                        length K=4, using SISO Log-MAPDecoders is provided for
     To design an improve Log-MAPDecoder using high level             simplicity in descriptions of the invention. As shown in FIG.
  design language of VHDL which can be Synthesized into               4, a Turbo Codes Decoder has two concatenated LoSISO
  custom ASIC and FPGA devices.                                       g-MAP Decoders A 42 and B 44 connected in a feedback
     Still further objects and advantages will become apparent        loop with Interleaver Memory 43 and De-Interleaver
  to one skill in the art from a consideration of the ensuing         Memory 45 in between. An input Buffer 41, shown in details
  descriptions and accompanying drawings.                             FIG. 5; has one serial-to-par(S/P) converter 51, and three
                                                                      shift registers 52 of length N for block decoding. A control
            BRIEF DESCRIPTION OF DRAWINGS                        15   logic module (CLSM) 47, shown in FIG. 4, consists of
    FIG. 1. is a typical 3G Receiver Functional Block Dia             various State-machines which in turn control all the opera
                                                                      tions of the Turbo Codes Decoder. The hard-decoder module
  gram which use Turbo Codes Decoder for error-correction.       46 outputs the final decoded data. Signals R2, R1, R0 are the
     FIG.2. is an example of an 8-PSK (QPSK) constellations received data shifted out from the Shift Registers. Signal
  of the receiving Signals.                                      XO1, and XO2 are the output soft decision of the Log-MAP
     FIG. 3. is a block diagram of the 8-states Parallel Con Decoders A42 and B 44 respectively, which are stored in the
  catenated Convolutional Codes.                                 Interleaver Memory 43 and De-Interleaver Memory 45
     FIG. 4. is the Turbo Codes Decoder System Block Dia module. Signal Z2 and Z1 are the output of the Interleaver
  gram showing Log-MAP Decoder, Interleavers, Input Shift Memory 43 and De-Interleaver Memory 45 where the Z2 is
  registers and control logics.                               25 feed into Log-MAP decoder B 44, and Z1 is feedback into
     FIG. 5. is a block diagram of the Input Buffer Shift Log-MAP decoder A 42 for iterative decoding.
  Registers.                                                        In accordance with the invention, the Turbo Codes
                                                                 Decoder decodes an 8-state Parallel Concatenated Convo
     FIG. 5b. is the Soft Values Mapping ROM Table.
     FIG. 6. is the input Buffer Interface Timing.               lutional Code (PCCC), with coding rate /3, constraint length
                                                                 K=4, using LSISOog-MAP (Maximum a Posteriori) Decod
     FIG. 7... is a block diagram of the 8-states SISO Log-MAP ers in pipeline. The Turbo Codes Decoder can also decode
  Decoder showing Branch Metric module, State Metric a 16-states or more PCCC with different code rates.
  module, Log-MAP module, am State and Branch Memory                As shown in FIG. 1. the Turbo Codes Decoder functions
  modules.                                                       effectively as follows:
     FIG. 8. is the 8-States Trellis Diagram of a SISO Log 35 Serial received data are shifted into 3 Shift Registers to
  MAP Decoder.                                                   produce R0, R1, and R2 data Sequence.
     FIG. 9. is a block diagram of the BRANCH METRIC                The soft value module converts the input data R0, R1, and
  COMPUTING module.                                              R2 into 3-bit quantization soft-values according to TABLE
     FIG. 10a. is a block diagram of the Log-MAP computing 1.
  for u-0.                                                    40    When a block of N input data is received, the Turbo
     FIG. 10b. is a block diagram of the Log-MAP computing Decoder starts the Log-MAP Decoder A to decode the N
  for u=1.                                                       input bits based on the soft-values of R0 and R1, then stores
     FIG. 11. is a block diagram of the Log-MAP Compare & the outputs in the Interleaver Memory.
  Select 1 maximumogic for each State.                              Next, the Turbo Decoder starts the Log-MAP Decoder B
                                                              45 to decode the Ninput bits based on the soft-values of R2 and
     FIG. 12. is a block diagram of the Soft Decode module. Z2, then store the outputs in the De-Interleaver Memory.
     FIG. 13. is a block diagram of the Computation of              The Turbo Decoder will now do the iterative decoding for
  Forward Recursion of stSte-m Mric module (FACS).               L number of times. The Log-MAP Decoder A now uses the
     FIG. 14. is a block diagram of the Computation of signals Z1 and R1 as inputs. The Log-MAPDecoder Buses
  Backward Recursion of st Ste-m Mric module (BACS). 50 the SigZ2 and R2 as inputs.
     FIG. 15. showing FoState Metric rward computing of             When the iterative decoding Sequences are done, the
  Trellis State transitions.                                     Turbo Decoder Starts the hard-decision operations to com
     FIG. 16. showing BaState Metric ckward computing of pute and produce Soft-decision outputs.
  Trellis State transitions.                                     Input Buffer Shift Registers
     FIG. 17. is a block diagram of the State Machine opera 55 As shown in FIG. 5., the Turbo Codes Input Buffer has a
  tions of Log-MAP Decoder.                                      serial-to-parallel (S/P) converter 51, and three Shift Regis
     FIG. 18. is a block diagram of the BM dual-port Memory ters 52 of N bits to store each block of N input data. A 3-bit
  Module.                                                             Seral-to Parallel (S/P) converter 51 converts input data into
                                                                      3 serial data streams which are then shifted into the corre
     FIG. 19. is a block diagram of the SM dual-port Memory 60 sponding shift registers 52. As shown in FIG. 6. is the timing
  Module.
                                                               interface with the input buffer from the external hosts or the
     FIG. 20. is a block diagram of the Interleaver RAM Demodulator/De-mapping 12. A bit clock (BCLK) in con
  Memory Memory Module.                                        junction with the frame sync (RSYNC) are used to shift data
     FIG. 21. is a block diagram of the De-Interleaver RAM into the SIP converter 51 when the RSYNC is active
  Memory Module.                                            65 (HIGH).
     FIG. 22. is a block diagram of the State Machine opera       As shown in FIG. 5b., each input data bit R0, R1, and R2
  tions of the Turbo Codes Decoder.                            entering into the Log-MAP Decoder are assigned a Soft
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                                                               US 6,813,742 B2
                             S                                                                        6
  value of L-bit quantization as shown in the following                 Trellis 85 as shown in the FIG.8. based on the following
  TABLE 1. The same Soft values are used as the threshold for           equations:
  the final hard code data.
                                                                              Local Euclidean distances values=SD0*G0+SD1 G1
  t2)
                                TABLE 1.
                                                                          The SDO and SD1 are soft-values from TABLE 1., G0 and
                                                                        G1 are the expected input for each path in the Trellis 85. G0
                                Soft values                             and G1 are coded as signed antipodal values, meaning that
                                                                        0 corresponds to +1 and 1 corresponds to -1. Therefore, the
            Soft Values L-bit                 Input data Bit            local Euclidean distances for each path in the Trellis 85 are
               O11                            O                         computed by the following equations:
               101                            1.


  SISO Log-MAP Decoder
    shown in FIG. 7., an SISO Log-MAP Decoder42 44 15
  comprises of a Branch Metric (BM) computation module 71,
  a State Metric (SM) computation module 72, a Log-MAP
  computation module 73, a BM Memory module 74, a SM
  Memory module 75, and a Control Logic State Machine
  module 76. Soft-values inputs enter the Branch Metric (BM)
  computation module 71, where Euclidean distance is calcu
  lated for each branch, the output branch metrics are Stored
  in the BM Memory module 74. The State Metric (SM)
  computation module 72 reads branch metrics from the BM
  Memory 74 and compute the state metric for each state, the 25
  output state-metrics are stored in the SM Memory module
  75. The Log-MAP computation module 73 reads both
  branch-metrics and state-metrics from BM memory 74 and
  SM memory 75 modules to compute the Log Maximum a
  Posteriori probability and produce soft-decision output. The
  Control Logic State-machine module 76 provides the overall
  operations of the decoding process.
     As shown in FIG. 7., the Log-MAP Decoder 42 44
  functions effectively as follows:                            35
    The Log-MAPDecoder 4244 reads each soft-values (SD)
  data pair input, then computes
    branch-metric (BM) values for all 16 paths in the Turbo           As shown in FIG. 9., the Branch Metric Computing
  Codes Trellis 85 as shown in FIG.8., then stores all 16 BM
  data into BM Memory 74. It repeats computing BM values 40 92, andcomprise
                                                                    module             of one L-bit Adder 91, one L-bit Subtracter
  for each input data until all N Samples are calculated and distances afor2"complemeter
                                                                                   path M1  and
                                                                                                 93. It computes the Euclidean
                                                                                                M5.   Path M2 is 2'complement of
  stored in BM Memory 74.                                           path M1.  Path   M6  is 2'complement   of M5. Path M3 is the
     The Log-MAPDecoder 4244 reads BM values from BM same path M2, path M4 is the same as                    path M1, path M7 is
  Memory 74 and SM values from SM Memory 75, and the same as path M6, path M8 is the same                        as path M5, path
  computes the forward state-metric (SM) for all 8 states in the 45 M9 is the same as path M6 path M10 is the same     as path M5,
  Trellis 85 as shown in FIG.8., then store all 8 forward SM        path M11   is the same  as path  M5, path M12   is the same as
  data into SM Memory 75. It repeats computing forward SM path M6, path M13 is the same as path M2, path M14
  values for each input data until all N Samples are calculated same as path M1, path M15 is the same as path M1, andispath     the
  and stored in SM Memory 75.                                       M16 is the same as path M2.
     The Log-MAPDecoder 4244 reads BM values from BM 50 State Metric Computing Module
  Memory 74 and SM values from SM Memory 75, and                      The State Metric Computing module 72 calculates the
  computes the backward state-metric (SM) for all 8 states in  probability A(k) of each State transition in forward recursion
  the Trellis 85 as shown in FIG. 8., then store all 8 backwardand the probability B(k) in backward recursion. FIG. 13.
  SM data into the SM Memory 75. It repeats computing shows           the implementation of State-metric in forward recur
  backward SM values for each input data until all Nsamples 55 sion with Add-Compare-Select (ACS) logic, and FIG. 14.
  are calculated and stored in SM Memory 75.                     shows the implementation of State-metric in backward recur
     The Log-MAP Decoder 42 44 then computed Log-MAP sion with Add-Compare-Select (ACS) logic. The calcula
  posteriori probability for u=0 and u=1 using BM values and tions are performed at each node in the Turbo Codes Trellis
  SM values from BM Memory 74 and SM Memory 75. It 85 (FIG. 8) in both forward and backward recursion. The
  repeats computing Log-MAP posteriori probability for each 60 FIG. 15. shows the forward state transitions in the Turbo
  input data until all Nsamples are calculated. The Log-MAP Codes Trellis 85 (FIG. 8), and FIG. 16. show the backward
  Decoder then decodes data by making Soft decision based on state transitions in the Turbo Codes Trellis 85 (FIG. 8). Each
  the posteriori probability for each Stage and produce Soft node in the Trellis 85 as shown in FIG.8. has two entering
  decision output, until all N inputs are decoded.               paths: one-path 84 and Zero-path 83 from the two nodes in
  Branch Metric Computation Module                            65 the previous Stage.
     The Branch Metric (BM) computation module 71 com               In an examplanary embodiment, the ACS logic comprises
  putes the Euclidean distance for each branch in the 8-States of an Adder 132, an Adder 134, a Comparator 131, and a
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                                  7                                                                   8
  Multiplexer 133. In the forward recursion, the Adder 132                     s00sum=MAXsum so0, 0
  computes the Sum of the branch metric and State metric in                    s01sum=MAXsum SO1, SO0sum
  the one-path 84 from the State S(k-1) of previous stage
  (k-1). Adder 134 computes the sum of the branch metric and                   s02sum=MAXsum SO2, S01sum
  state metric in the Zero-path 83 from the state (k-1) of 5
  previous stage (k-1). The Comparator 131 compares the two                    s03sum=MAXsum SO3, SO2sum
  sums and the Mulitplexer 133 selects the larger sum for the
  State S(k) of current stage (k). In the backward recursion, the              s04sum=MAXsum SO4, SO3sum
  Adder 142 computes the sum of the branch metric and state                    s05sum=MAXsum SO5, SO4sum
  metric in the one-path 84 from the state s(i+1) of previous
  stage (J+1). Adder 144 computes the sum of the branch                        s06sum=MAXsum SO6, SO5sum
  metric and state metric in the Zero-path 83 from the state
  S(i+1) of previous stage (J+1). The Comparator 141 com                       s07sum=MAXsum so7, SO6sum
  pares the two sums and the Mulitplexer 143 selects the larger                S10sum=MAXsum S10, 0
  Sum for the state S() of current stage ().                      15
     The Equations for the ACS are shown below:                                S11sum=MAXsum S11, S10sum
                                                                               S12sum=MAXsum S12, S11sum
                                                                               S13sum=MAXsum S13, S12sum
    Time (k-1) is the previous stage of (k) in forward                         S14sum=MAXsum S14, S13sum
  recursion as shown in FIG. 15., and time (i+1) is the
  previous stage of () in backward recursion as shown in FIG.                  S15sum=MAXsum S15, S14sum
  16.
  Log-MAP computing Module                                       25       S16sum=MAXsum S16, S15sum
     The Log-MAP computing module calculates the poste                    S17sum=MAXsum S17, S16sum
  riori probability for u=0 and u=1, for each path entering each
  state in the Turbo Codes Trellis 85 corresponding to u=0 and Control Logics-State Machine (CLSM) Module
  u=1 or referred as Zero-path 83 and one-path 84. The                As shown in FIG. 7... the Control Logics module controls
  accumulated probabilities are compared and Selected the u the overall operations of the Log- MAP Decoder. The
  with larger probability. The soft-decision are made based on control logic state machine 171, referred as CLSM, is shown
  the final probability selected for each bit. FIG.10a shows the in FIG. 17. The CLSM module 171 (FIG. 17) operates
  implementation for calculating the posteriori probability for effectively as the followings. Initially, it stays in IDLE state
  u=0. FIG. 10b. shows the implementation for calculate the         172. When the decoder is enable, the CLSM transitions to
  posteriori probability for u=1. FIG. 11... shows the imple 35 CALC-BM state 173, it then starts the Branch Metric (BM)
  mentation of compare-and-Select the u with larger probabil module operations and monitor for completion. When
  ity. FIG. 12. shows the implementation of the soft-decode         Branch Metric calculations are done, referred as bm-done
  compare logic to produce output bits based on the posteriori the CLSM transitions to CALC-FWD-SM state 174, it then
  probability of u=0 and u=1. The equations for calculation the tarts the State Metric module (SM) in forward recursion
  accumulated probabilities for each State and compare-and 40 operation. When the forward SM state metric calculations
  Select are shown below:                                               are done, referred as fwd-sm, the CLSM transitions to
                                                                        CALC-BWD-SM state 175, it then starts the State Metric
                                                                        module (SM ) in backward recursion operations. When
                                                                       backward SM State metric calculations are done, referred as
                                                                 45    bwd-sm-done the CLSM transitions to CALC-Log-MAP
                                                                       state 176, it then starts the Log-MAP computation module to
                                                                       calculate the maximum a posteriori probability to produce
                                                                       soft decode output. When Log-MAP calculations are done,
                                                                       referred as log-map-done, it transitions back to IDLE state
                                                                 50     172.
                                                                    BM Memory and SM Memory
                                                                       The Branch-Metric Memory 74 and the State-Metric
                                                                    Memory 75 are shown in FIG. 7. as the data storage
                                                                    components for BM module 71 and SM module 72. The
                                                                 55 Branch Metric Memory module is a dual-port RAM contains
                                                                    M-bit of N memory locations as shown in FIG. 18. The State
                                                                    Metric Memory module is a dual-port RAM contains K-bit
                                                                    of N memory locations as shown in FIG. 19. Data can be
                                                                    written into one port while reading at the other port.
                                                                 60 Interleaver Memory and De-interleaver Memory
                                                                       As shown in FIG. 4., the Interleaver Memory 43 stores
                                                                    data for the first decoder A42, and De-interleaver memory
                                                                       45 stores data for the second decoder B 44. In an iterative
                                                                     pipelined decoding, the decoder A 42 reads data from
                                                                  65 De-interleaver memory 45 and writes results data into
                                                                     Interleaver memory 43, the decoder B 44 reads data from
                                                                     Interleaver memory 43 and write results into De-interleaver
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                                9                                                                  10
  memory 45. The Interleaver/De-interleaver Memory module                 wherein the output of the memory module associated
  uses an interleaver to generate the write address Sequences             with the last Soft decision decoder is fed back as an
  of Memory in write mode. In read mode, the memory read                  input to the first Soft decision decoder, wherein the
  address are normal Sequences.                                           output of the memory module associated with the first
     As shown in FIG. 20., the Interleaver memory 43 com                  Soft decision decoder is fed as an input to the Second
  prises of an Interleaver module 201 and a dual-port RAM                 Soft decision decoder, wherein the last Soft decision
  202 contains M-bit of N memory locations. The Interleaver               decoder receives output of the memory module asso
  is a Turbo code internal interleaver as defined by 3GPP                 ciated with the preceding Soft decision decoder.
  standard ETSI TS 125 222 V3.2.1 (2000–05). The Inter                 2. The baseband processor Subsystem according to claim
  leaver permutes the address input port A for all write            1, wherein each decoder processes at leat one baseband
  operations into dual-port RAM module. Reading data from Source             Signal input and an extrinsic information input
  output port B are done with normal address input.                 coupled   from the preceding memory module, wherein each
     As shown in FIG. 21., the De-interleaver memory 45 decoder performs
  comprises of an De-Interleaver module 211 and a dual-port rithm and Stores the       the
                                                                                           maximum a posteriori decoding algo
                                                                                            Soft decision into its corresponding
  RAM 212 contains M-bit of N memory locations. The memory module.
                                                                 15
  De-Interleaver is a Turbo code internal interleaver as defined
  by 3GPP standard ETSI TS 125 222 V3.2.1 (2000–05). The 1, 3.wherein     The baseband processor Subsystem according to claim
                                                                                 each Soft decision decoder uses a maximum a
  De-Interleaver permutes the address input port A for all
  write operations into dual-port RAM module. Reading data posteriori          (MAP) probability algorithm, and/or a logarithm
                                                                    approximation algorithm.
  from output port B are done with normal address input.               4. The baseband processor Subsystem according to claim
  Turbo Codes Decoder Control Logics-State Machine                  1, wherein each Soft decision decoder implements concat
  (TDCLSM)                                                           enated convolutional codes.
    As shown in FIG. 4. the Turbo Decoder Control Logics               5. The baseband processor Subsystem according to claim
  module 47, referred as TDCLSM, controls the overall opera
  tions of the Turbo Codes Decoder. The state-machine is 25 1 further said to be implemented in an ASIC (application
  shown in the FIG. 22. Initially, the TDCLSM 47 stays in            Specific-integrated-circuit) of an SoC (System-on-chip)
  IDLE state 221. When decoder enable signal is active, the          device, or in an VLSI (very large-scale integrated circuits)
  TDCLSM 47 transitions to INPUT States 222. The                     device for wireleSS communication applications.
  TDCLSM 47 starts the input shifting operations until the              6. A method of iteratively decoding a plurally of
  input buffer 41 is fill indicated by input-ready signal. Then,     Sequences of received baseband Signals, the method com
  the TDCLSM 47 transitions to Log-MAP A state 223 and               prising:
  starts the operations of Log-MAP Decoder A42. When the                processing Systematic information data and extrinsic
  Lof-MAPA 42 is done. the TDCLSM 47 transitions to the                   information data using the maximum a posteriori (AP)
  Log-MAPB state 224 and starts the Log-MAP Decoder B                    probability algorithm, and/or logarithm approximation
  44. When Log-MAPB 44 is done, the TDCLSM 47 starts 35                  algorithm;
  the iterative decoding for J number of times. When the              generating Soft decision based on the maximum a poste
  iterative decoding sequences are done, the TDCLSM 47                   riori (MAP) probability algorithm, and/or logarithm
  transitions to HARD-DEC state 225 and produces the hard                approximation algorithm;
  decode outputs. Then the TDCLSM 47 transitions to the               weighting and Storing Soft decision information into the
  INPUT state to start decoding another block of data.          40       corresponding memory module;
  Iterative Decoding                                                  performing, for a predetermined number of times, itera
     Turbo Codes decoder performs iterative decoding Ltimes              tive decoding from the first to the last of multiple
  by feeding back the output Z1 of the second Log-MAP                    decoders, wherein an output from the last Soft decision
  decoder B into the corresponding first Log-MAP decoder A,              decoder is fed back as an input to the first Soft decision
  before making decision for hard-decoding output. AS shown 45           decoder, then from the first to the Second decoders, and
  in FIG. 13., the Counter 233 count the preset number L                 propagate  to the last decoder in a circular circuit.
  times, the Multiplexer select the input for the Decoder A.          7. The method according to claim 6, wherein the the
  When Counter is zero, the Mux selects the input R1, else it soft-in soft-out (SISO) maximum a posteriori (MAP) prob
  selects the recursive input Z1 from Decoder B.                   ability algorithm and logarithm approximation algorithm
     What is claimed is:                                        50
     1. A baseband processor for iteratively processing a transition intheforward
                                                                   calculates      alpha function probability A(k) of each State
                                                                                           recurison and the beta function prob
  plurality Sequences of received baseband digital Signals, the ability B(k) in backward       recursion.
  baseband processor Subsystem comprising:                            8. The method according to claim 6 further said to be
     at least two Soft decision decoders are Serially coupled in implemented in Software coded SISO maximum a posteriori
        a circular circuit wherein each decoder processes Soft 55 (MAP) probability algorithm and/or logarithm approxima
        decision from the preceding decoder output data in an tion algorithm using any available DSP (digital-signal
       iterative mode,                                               proSSor) device.
    at least one memory module that is electrically coupled to
       an output of a corresponding Soft decision decoder,
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                                                                                                             USOO6813742C1

         (12) EX PARTE REEXAMINATION CERTIFICATE (6654th)
  United States Patent                                                                   (10) Number:           US 6,813,742 C1
  Nguyen                                                                                 (45) Certificate Issued:   Feb. 10, 2009
  (54) HIGH SPEEDTURBOCODES DECODER FOR                                             T. Ngo and I. Verbauwhede, “Fixed Point Implementation
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          DECODERS ARCHITECTURE                                                     98-162, http://www.ucop.edu/research/micro/98 99/98
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          Appl. No.:          09/681,093                                            Mar 1974.
          Filed:              Jan. 2, 2001                                          IEEE 100, “The Authoritative Dictionary of IEEE Standards
  (51) Int. Cl.                                                                     Terms. Seventh Edition, New York, Institute of Electrical
          H03M, 3/00               (2006.01)                                        and Electronics Engineers, Inc. (New York, 2000).
          H03M, 3/29               (2006.01)                                        ETSI TS 125 222 version 3.2.1 Specification, May 2005.
          H04L I/00                (2006.01)                                        Primary Examiner Woo H. Choi
  (52) U.S. Cl. ........................................ 714/794; 714/755           (57)                          ABSTRACT
  (58) Field of Classification Search ........................ None
       See application file for complete search history.                            A Bandband Processor for Wireless Communications is pre
                                                                                    sented. The invention encompasses several improved Turbo
  (56)                    References Cited                                          codes method to provide a more practical and simpler
                    U.S. PATENT DOCUMENTS
                                                                                    method for implementation a Turbo Codes Decoder in ASIC
                                                                                    or DSP coding. (1) A plurality of pipelined pipelined Log
         6,510,536 B1       1/2003 Crozier et al.                                   MAP decoders are used for iterative decoding of received
         6,829,313 B1      12/2004 Xu                                               data. (2) In a pipeline mode, Decoder A decodes data from
                     OTHER PUBLICATIONS                                             the De-interleaver RAM memory while the Decoder B
                                                                                    decodes data from the De-interleaver RAM memory at the
  S. Crozier, K. Gracie, and A. Hunt, “Efficient Turbo Decod                        same time. (3) Log-MAP decoders are simpler to implement
  ing Techniques.” Proceedings of the 11" International Con                         in ASIC with only Adder circuits, and are low-power con
  ference on Wireless Communications, Calgary, Alberta,                             sumption. (4) Pipelined Log-MAP decoders method provide
  Canada, pp. 187–195, Jul. 12–14, 1999.                                            high speed data throughput, one output per clock cycle.



                                                                                                           De-interleaver
                                                                                                             MEMORY
                                                                                         DECODER
                                                                                                  B




                                                        Control Logics - State Machine (CLSM)                           Output Data
                                                                               47

                                                        Turbo Codes decoder System Block Diagram

                                                    RSYNC

                                                    rxAA



                                                              5                     2         O       52
                                                                         SP
                                                                         REG     RORR2
                                                               input Buffer Shift registers
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                    1.                                                                               2
                EX PARTE                                               received from the input buffer and an extrinsic information
      REEXAMINATION CERTIFICATE                                        input coupled from the preceding memory module, wherein
                                                                       each decoder performs the maximum a posteriori decoding
        ISSUED UNDER 35 U.S.C. 307                                     algorithm and stores the soft decision into its corresponding
                                                                       memory module.
          THE PATENT IS HEREBY AMENDED AS                                3. The baseband processor subsystem according to
                 INDICATED BELOW.                                      claim 1, wherein each soft decision decoder uses a maxi
                                                                       mum a posteriori (MAP) probability algorithm, and/or a
    Matter enclosed in heavy brackets          appeared in the         logarithm approximation algorithm.
  patent, but has been deleted and is no longer a part of the 10 4. The baseband processor subsystem according to
  patent; matter printed in italics indicates additions made           claim 1, wherein each soft decision decoder implements
  to the patent.                                                       concatenated convolutional codes.
                                                                          6. A method of iteratively decoding a plurally plurality
  AS A RESULT OF REEXAMINATION, IT HAS BEEN                            of sequences of received baseband signals, the method com
     DETERMINED THAT:                                                  prising:
                                                                    15
                                                                          providing an input buffer comprising at least three shift
     Claims 5 and 8 are cancelled.                                           registers, for receiving an input signal and generating
                                                                             first, second, and third shifted input signals,
     Claims 1–4, 6 and 7 are determined to be patentable as               providing first and second soft decision decoders serially
  amended.                                                                   coupled in a circular circuit, wherein each decoder
                                                                             processes soft decision from the preceding decoder out
     1. A baseband processor for iteratively processing a plu                put data, and wherein the first decoderfurther receives
  rality sequences of received baseband digital signals, the                 the first and second shifted input signals from the input
  baseband processor subsystem comprising:                                   buffer and the second decoderfurther receives the third
                                                                             shifted input signal from the input buffer,
     an input buffer comprising at least three shift registers, for 25 providing at least One memory module coupled to an out
        receiving an input signal and generating first, second,              put of each of the first and second soft decision
        and third shifted input signals,                                     decoders, wherein the output of the memory module
     at least two soft decision decoders are including first and             associated with the second soft decision decoder is fed
        second soft decision decoders serially coupled in a cir              back as an input of the first soft decision decoder,
        cular circuit wherein each decoder processes soft deci 30 processing systematic information data and extrinsic
        sion from the preceding decoder output data in an itera              information data using the maximum a posteriori (AP)
        tive mode:                                                           probability algorithm, and/or logarithm approximation
     at least one memory module that is electrically coupled to              algorithm;
        an output of a corresponding soft decision decoder,               generating    soft decision based on the maximum a poste
        wherein the output of the memory module associated          35       riori  (MAP)    probability algorithm, and/or logarithm
                                                                             approximation algorithm;
        with the a last soft decision decoder is fed back as an            weighting weighing and storing soft decision informa
        input to the first soft decision decoder,                            tion into the corresponding memory module:
     wherein the output of the memory module associated with              performing, for a predetermined number of times, itera
        the first soft decision decoder is fed as an input to the 40         tive decoding from the first to the last of multiple
        second soft decision decoder, wherein the last soft deci             decoders, wherein an output from the last Soft decision
        sion decoder receives output of the memory module                    decoder is fed back as an input to the first soft decision
        associated with the preceding soft decision decoder,                 decoder, then from the first to the second decoders, and
        and                                                                  propagate to the last decoder in a circular circuit.
     wherein the first soft decision decoder further receives the 45 7. The method according to claim 6, wherein the the
        first and second shifted input signals from the input soft-in soft-out (SISO) maximum a posteriori (MAP) prob
        buffer and the second soft decision decoder further ability algorithm and logarithm approximation algorithm
        receives the third shifted input signals from the input calculates the alpha function probability A(k) of each state
        buffer.                                                        transition in forward recurison recursion and the beta func
     2. The baseband processor subsystem according to 50 tion probability B(k) in backward recursion.
  claim 1, wherein each decoder processes at leat one base
  band source signal input the shifted input signal or signals                                k    k   k   k   k
